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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


TREY COCKRELL,                                      )
                                                    )
                Plaintiff,                          )
                                                    )
          vs.                                       )       Case No. 4:21-cv-01260-JAR
                                                    )
JOSHUA BOWERSOX, et al.,                            )
                                                    )
                Defendants.                         )

                                MEMORANDUM AND ORDER

       This matter is before the Court upon review of the record. The Court notes that the file

contains no proof of service by Plaintiff upon, nor entry of appearance on behalf of, Defendants

Police Officer Wiggs or Chris Thornton. Because it does not appear that service of Plaintiff’s

complaint has been timely made upon these Defendants, as required by Federal Rule of Civil

Procedure 4(m),

       IT IS HEREBY ORDERED that on or before May 9, 2022, Plaintiff shall show cause

in writing why the complaint should not be dismissed without prejudice as to Defendants Police

Officer Wiggs and Chris Thornton.


       Dated this 29th day of April, 2022.




                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE




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